        Case 1:11-cv-00699-CKK Document 74 Filed 01/17/17 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

Virginia L. Foley, Individually                                            :
and as the Personal Representative                                         :
of the Estate of Laurence Michael Foley, Sr.                               :
                                                                           :
et al.,                                                                    :
                                                                           :   Civil Action No. 11-699 (CKK)
                        Plaintiffs,                                        :
                                                                           :
v.                                                                         :
                                                                           :
SYRIAN ARAB REPUBLIC                                                       :
                                                                           :
et al.,                                                                    :
                                                                           :
                                                Defendants                 :
. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ………:


                                                        ERRATA

          Plaintiffs hereby file this Errata to notify the Court of compliance with the portion

of the Court’s November 18, 2016 Minute Order which required Plaintiffs to submit

“hyperlinked versions of their submissions (hyperlinked with respect to citations to the

hearing transcript, exhibits, and legal authority)”. Plaintiffs created a new hyperlinked

version of the draft findings of fact and conclusions of law, which previously had been

filed on January 6, 2016, [Dkt. #71], and dropped off two copies on two CDs today at the

Courthouse. See Exhibit A (receipt from courthouse). Exhibit A is a copy of the

envelope with today’s date stamp from the courthouse loading dock on C Street which

denotes receipt of the envelope carrying the two CDs. Counsel created the new

hyperlinked version of the draft findings of fact and conclusions of law by importing into

a single PDF brief all sources including trial transcripts, trial exhibits, docket entries,

statutes and cases.



                                                              1
      Case 1:11-cv-00699-CKK Document 74 Filed 01/17/17 Page 2 of 3




       Plaintiffs also file this errata to notify the Court of their correction of two minor

citation errors appearing at pages 6 and 20 of the draft findings of fact and conclusions,

see Exhibit B at 6, 20, of law filed on January 6. [Dkt. #71]. Counsel for Plaintiffs

noticed the minor errors during the process of creating the hyperlinks requested by the

Court. The following changes were made to the previously filed draft findings of fact and

conclusions of law:

    1. page 6, the previous document mistakenly refereed to Exhibit 4 instead of

Exhibit 3; and

    2. page 20 where the previous document mistakenly cited to “Id. at 123”, the

citation has been replaced with “Schenker T-2-123” following “In order to prevent a

coup, the Assad family divided the Syrian government into rival fiefdoms competing for

the benefits of loyalty to the regime by creating nearly at least a dozen overlapping

intelligence agencies?”

       Plaintiffs respectfully refer the Court to Exhibit B, a PDF of the January 6 draft

findings of fact and conclusions of law, which shows the two minor citation errors

corrected in redline at pages 6 and 20. Exhibit D is the same document but with the

changes accepted and therefore no redlines. The document attached as Exhibit D should

replace [Dkt. #71].

       The final draft findings of fact and conclusions of law with the hyperlinks inserted

found on the two CDs dropped off at the Courthouse also contains the two previously

described citation corrections.1



1
  This draft is roughly 56 MB and therefore too large to file on PACER. On January 13,
2016, Counsel produced a 34.1 MB version of the same document (by lowering the
resolution of scanned images) but the ECF system rejected it for reasons apparently


                                             2
      Case 1:11-cv-00699-CKK Document 74 Filed 01/17/17 Page 3 of 3




DATED:                                Respectfully Submitted,

January 17, 2017                      /s/ Steven R. Perles
                                      Steven R. Perles, Esq. (No. 326975)
                                      Edward MacAllister, Esq. (No. 494558)
                                      Joshua K. Perles, Esq. (No. 1031069)
                                      PERLES LAW FIRM, PC
                                      1050 Connecticut Ave, NW
                                      Suite 500
                                      Washington, DC 20036
                                      Telephone: 202-955-9055
                                      Telefax: 202-772-3101

                                      Admitted Pro Hac Vice
                                      F. R. Jenkins, Esq. (Maine Bar No. 4667)
                                      MERIDIAN 361 I.L.G., PLLC
                                      97A Exchange Street, Suite 202
                                      Portland, ME 04101
                                      Telephone: 866-338-7087
                                      Facsimile: 202-315-3894




unrelated to its file size, see Exhibit C, and despite many different attempts at modifying
the document to allow its filing. Neither Counsel nor the Court’s ECF staff are currently
able to determine the reason for the ECF rejection. Counsel for Plaintiffs will work with
the Court’s ECF staff to attempt to generate a hyperlinked version of the brief that does
not run afoul of ECF’s filters.


                                            3
